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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,)                  4:06CR3040
                         )
    Plaintiff,           )
                         )
vs.                      )                  ORDER ON ORAL REQUEST
                         )                  TO ENTER PLEA OF GUILTY
NOE GUSTAVO CHAVEZ LOYA, )
                         )
    Defendant.           )

       The court has been informed at a conference call today between counsel for
the government and counsel for the defendant and my chambers that the defendant
asks to be permitted to enter a plea of guilty.

      IT IS ORDERED that:

      1.    this case, insofar as it concerns this defendant, is removed from the
            trial docket based upon the request of the defendant;

      2.    a hearing on the defendant’s anticipated plea of guilty is scheduled
            before the undersigned on November 21, 2006, at 10:00 a.m., in
            Courtroom No. 4, United States Courthouse, 100 Centennial Mall
            North, Lincoln, Nebraska;

      3.    on or before the date set for the plea proceeding, counsel for the
            plaintiff and for the defendant shall provide to the assigned probation
            officer their respective versions of the offense for purposes of
            preparing the presentence investigation report;

      4.    the court finds that the interests of the public and the defendant in a
            speedy trial are outweighed by the ends of justice in having counsel
            fully prepared and the defendant fully advised on the disposition of
            this matter. For this defendant the time between today’s date and the
            hearing on the anticipated plea of guilty is excluded for purposes of
            computing the limits under the Speedy Trial Act, to allow counsel and
            the defendant to finalize their plea agreement and the petition to enter
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          a plea of guilty, submit them to the court, and prepare their respective
          versions of the offense for submission at the plea hearing. See 18
          U.S.C. § 3161(h)(8)(A) and (B)(i) and (iv); and

    5.    the defendant shall be present at this hearing.

    Dated November 8, 2006.

                              BY THE COURT

                              s/ Warren K. Urbom
                              United States Senior District Judge




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